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1                   UNITED STATES DISTRICT COURT
2                            DISTRICT OF OREGON
3                             PORTLAND DIVISION
4
5    KELLY CAHILL, SARA JOHNSTON,                    )
6    LINDSAY ELIZABETH, and HEATHER                  )
7    HENDER, individually and on                     )
8    behalf of others similarly                      )
9    situated,                                       )
10                     Plaintiffs,                   )
11           v.                                      ) 3:18-cv-01477-JR
12   NIKE, INC., an Oregon                           )
13   corporation,                                    )
14                     Defendant.                    )
15
16                    DEPOSITION OF LAUREN ANDERSON
17                            January 21, 2021
18                                 Thursday
19                                 9:07 A.M.
20
21                 THE VIDEOCONFERENCE VIDEO-RECORDED
22   DEPOSITION OF LAUREN ANDERSON was taken at
23   Portland, Oregon, before Jan R. Duiven, CSR, FCRR,
24   RPR, CRC, Certified Shorthand Reporter in and for
25   the State of Oregon.

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1    did not -- when there were additional projects or                  12:09:16

2    special projects to be worked on, those weren't                    12:09:20

3    things that I would have access to.                                12:09:24

4            Q.     Okay.     Any other ways that you believe           12:09:38

5                  did not help advance your career?                    12:09:41

6            A.     That seems like a pretty big list.            I     12:09:43

7    mean, that seems like the list I can think of                      12:09:50

8    right now.                                                         12:09:52

9            Q.     Okay.     So anything else that you                 12:09:53

10   recall as we sit here today?                                       12:09:54

11           A.     I mean, there -- there are -- what --               12:09:57

12   what details -- what other details do you --                       12:10:04

13   should I be providing you with at this point in                    12:10:08

14   time?    I mean, there was an incident --                          12:10:10

15           Q.     Well --                                             12:10:12

16           A.     There was an incident that when we                  12:10:12

17   were at on off-site where he was extremely                         12:10:14

18   disrespectful.     He -- in the middle of a -- you                 12:10:17

19   know, it was a social gathering at night with a                    12:10:24

20   bunch of our coworkers.        It was basically our                12:10:26

21   whole team.                                                        12:10:29

22                  He stood in front of me with his                    12:10:30

23   crotch in my face and was like, "Suck my balls."                   12:10:34

24   Doesn't really help you with your coworkers and                    12:10:41

25   colleagues to have someone doing that to you.                      12:10:43

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1                   Later in the evening, we were outside,             12:10:47

2    and I was with some of my -- again, some of my                    12:10:53

3    coworkers and they were passing a joint around and                12:10:56

4    someone handed it to me, and I handed it to                       12:10:58

5    someone else because I don't smoke.          And then he,         12:11:01

6    in front of all these people, said, "What are you                 12:11:04

7    going to do, report me to HR?"        You know, implying          12:11:06

8    that I was going to rat somebody out for something                12:11:12

9    which I didn't care what they were doing.                         12:11:14

10                  But it was a group of guys and, I                  12:11:16

11   mean, there were plenty of instances like that                    12:11:18

12   where the group of guys who were his friends were                 12:11:21

13   in an inner circle that I, as a woman, was not                    12:11:24

14   choosing to be part of those situations nor put                   12:11:28

15   myself in an uncomfortable position with him any                  12:11:32

16   way I could.                                                      12:11:35

17          Q.      Okay.    Any other ways in which you               12:11:45

18   felt that                 did not help advance your               12:11:47

19   career or set you backwards that you haven't                      12:11:49

20   already told me about?                                            12:11:52

21          A.      Not that I can think of right now.                 12:11:54

22          Q.      Okay.    Let's see.   And you told me              12:12:11

23   that               -- you felt that                   did         12:12:21

24   not help advance your career because he was                       12:12:26

25   unavailable to you and uninterested in your work?                 12:12:27

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1                                  CERTIFICATE
2
3
4                            I, Jan R. Duiven, CSR, FCRR, CRC,
5    RPR, a Certified Shorthand Reporter for the State
6    of Oregon, do hereby certify that, pursuant to
7    stipulation of counsel for the respective parties
8    hereinbefore set forth, LAUREN ANDERSON appeared
9    virtually before me at the time and place set
10   forth in the caption hereof; that at said time and
11   place I reported in Stenotype all testimony
12   adduced and other oral proceedings had in the
13   foregoing matter; that thereafter my notes were
14   reduced to typewriting under my direction; and
15   that the foregoing transcript, pages 1 to 161,
16   both inclusive, constitutes a full, true, and
17   accurate record of all such testimony adduced and
18   oral proceedings had, and of the whole thereof.
19                           Witness my hand at Eugene, Oregon,
20   this 30th day of January, 2021.
21
22   <%24847,Signature%>
23   Jan R. Duiven, CSR, FCRR, CRC, RPR
24   CSR No. 96-0327
25   Expiration Date:           September 30, 2023

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1                   UNITED STATES DISTRICT COURT
2                            DISTRICT OF OREGON
3                             PORTLAND DIVISION
4
5    KELLY CAHILL, SARA JOHNSTON,                    )
6    LINDSAY ELIZABETH, and HEATHER                  )
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9    situated,                                       )
10                     Plaintiffs,                   )
11           v.                                      ) 3:18-cv-01477-JR
12   NIKE, INC., an Oregon                           )
13   corporation,                                    )
14                     Defendant.                    )
15
16                    DEPOSITION OF LAUREN ANDERSON
17                                 VOLUME II
18                            February 5, 2021
19                                  Friday
20                                 9:01 A.M.
21
22
                   THE VIDEOCONFERENCE VIDEO-RECORDED
23   DEPOSITION OF LAUREN ANDERSON was taken at
     Portland, Oregon, before Jan R. Duiven, CSR, FCRR,
24   RPR, CRC, Certified Shorthand Reporter in and for
     the State of Oregon.
25

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1    with your prior testimony where you told me that                   15:50:09

2    you became a director again after you took the                     15:50:10

3    U-band role?                                                       15:50:14

4                         MR. BLAKE:    Objection.    Vague and         15:50:15

5    ambiguous.                                                         15:50:18

6            A.     But I hadn't -- if I hadn't been in a               15:50:18

7    position where I was forced to take a U-band role,                 15:50:21

8    then at the time I took a director role, I would                   15:50:23

9    have hopefully been and probably been competing                    15:50:26

10   for senior director roles.                                         15:50:29

11   BY MS. ZABELE:                                                     15:50:32

12           Q.     Okay.     But you don't know for sure               15:50:32

13   that that would be the case.          You're just                  15:50:34

14   speculating.     Right?                                            15:50:35

15           A.     I don't know for sure it's not the                  15:50:36

16   case.                                                              15:50:37

17           Q.     I know.     But you don't know for sure             15:50:38

18   that it would have been the case.           Correct?               15:50:41

19                        MR. BLAKE:    Objection.                      15:50:42

20   Argumentative.        Calls for speculation.                       15:50:42

21           A.     No.                                                 15:50:51

22                        MS. ZABELE:    Okay.   So all right.          15:50:52

23   Let's take a look at the MOR complaint.                            15:50:56

24                        (Deposition Exhibit No. 206

25                        marked for identification.)

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1    BY MS. ZABELE:                                                    15:51:55

2            Q.   Okay.      I've marked as Exhibit 206 a              15:51:55

3    multipage document Bates-stamped Nike_00023458 to                 15:51:57

4    00023460.                                                         15:52:05

5                 Ms. Anderson, please let me know when                15:52:09

6    you have Exhibit 206 in front of you.                             15:52:10

7            A.   Yes.                                                 15:52:20

8            Q.   Okay.      So you told me earlier that               15:52:20

9    after you had a conversation with Lauren Sherman,                 15:52:24

10   you submitted a complaint through Nike's Matter of                15:52:26

11   Respect hotline.     Is that right?                               15:52:33

12           A.   Yes.                                                 15:52:37

13           Q.   Okay.      So was that a number you called           15:52:39

14   to make the complaint, like a telephone number?                   15:52:40

15           A.   Yes.    It was a telephone number.                   15:52:44

16           Q.   Okay.      And you -- okay.     So maybe             15:52:45

17   let's -- you may not have seen it in this format                  15:52:55

18   before, so maybe let's just go through it.            At the      15:52:57

19   top of Exhibit 206 -- actually, strike that.                      15:53:01

20                Let's do this.      If you can look at the           15:53:09

21   second page of Exhibit 206, at the top there's                    15:53:11

22   some text that starts, "October 2015."           Do you see       15:53:16

23   that?                                                             15:53:19

24           A.   Yes.                                                 15:53:23

25           Q.   Okay.      Could you please read that and            15:53:24

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1    let me know if you think that this is an accurate                 15:53:26

2    and true reflection of the complaint that you                     15:53:31

3    submitted to Nike's Matter of Respect hotline?                    15:53:33

4           A.    Yes.     I've read this.       Yes.      It's        15:54:17

5    accurate.                                                         15:54:19

6           Q.    Okay.      Sorry.    Go ahead.                       15:54:20

7           A.    I said, yes, it was accurate.                        15:54:23

8           Q.    Ah.     Thank you.     Okay.     Okay.     So now    15:54:25

9    if I can ask you to look at the top of the first                  15:54:32

10   page of Exhibit 206.       At the very top on the                 15:54:34

11   left-hand side, it says, "Report initiated," and                  15:54:39

12   then just to the right of that, it says,                          15:54:42

13   "2018-03-22."      Do you see that?                               15:54:46

14          A.    Yes.                                                 15:54:48

15          Q.    Okay.      Okay.    And is that the date             15:54:50

16   that you submitted this complaint through the                     15:54:52

17   Matter of Respect hotline, March 22nd, 2018?                      15:54:54

18          A.    Yes.                                                 15:54:57

19          Q.    Okay.      And this was based on an                  15:54:59

20   incident that had occurred in October 2015.                       15:55:11

21   Correct?                                                          15:55:13

22          A.    Yes.                                                 15:55:13

23          Q.    Okay.      So then looking at, again, the            15:55:23

24   top of the second page, it says, "October 2015,                   15:55:25

25   the entire digital" -- sorry.         Strike that.                15:55:29

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1                      So I'll just read through your                         15:55:30

2    complaint as reflected on the top of the second                          15:55:39

3    page of Exhibit 206.           So it says, "October 2015,                15:55:41

4    the entire digital brand group was in Seattle for                        15:55:44

5    an off-site.        After a day of working, we had                       15:55:46

6    dinner and then were out as a group having                               15:55:49

7    drinks."        Do you see that?                                         15:55:53

8             A.       Yes.                                                   15:55:55

9             Q.       Who was the -- who was in attendance?                  15:55:55

10   Like who was the group that was out having drinks?                       15:56:01

11            A.       The digital brand marketing team.             I        15:56:07

12   think just about the entire team.                                        15:56:10

13            Q.       Okay.     And then the second paragraph                15:56:12

14   there just underneath it states, "During the                             15:56:32

15   evening our group was sitting around low tables                          15:56:36

16   and             ended up standing in front of me, crotch                 15:56:39

17   in my face, and made a comment about sucking his                         15:56:43

18   dick."        Do you see that?                                           15:56:45

19            A.       Uh-huh.                                                15:56:48

20            Q.       Okay.     And the next sentence says,                  15:56:48

21   "The entire group who was present didn't exactly                         15:56:51

22   know what to do."           Do you see that too?                         15:56:53

23            A.       Yes.                                                   15:56:56

24            Q.       Okay.     So who witnessed                    or       15:56:57

25             standing in front of you, crotch in your                       15:57:03

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1    face, and making a comment about sucking his dick?               15:57:09

2             A.    I mean, the -- the team was there.          We    15:57:12

3    were all sitting around at the table at the bar.                 15:57:16

4                                         were sitting                15:57:21

5    closest to me, like next to me, and witnessed it                 15:57:25

6    directly.                                                        15:57:28

7             Q.    Who else was there?                               15:57:30

8             A.    I mean, it was -- it was the whole                15:57:31

9    group.                                                           15:57:35

10            Q.    Yeah.    Who would that be?                       15:57:36

11            A.    I mean, everybody who was on the                  15:57:39

12   digital team.     It would have been -- I mean, I                15:57:41

13   don't -- I don't remember everybody.          I mean, but        15:57:45

14                                                        , a         15:57:47

15   couple of the design guys.       There were some design          15:57:57

16   guys there who were part of the team who did our                 15:58:00

17   photo shoots.                                                    15:58:04

18                  I think at that point in time Kelly               15:58:07

19   was not in the hotel lobby, but had gone back to                 15:58:09

20   bed.     I certainly told her about it the next                  15:58:12

21   morning as did other people who were there.            I         15:58:16

22   don't remember all the people on the team.                       15:58:25

23            Q.    Anyone else that you haven't told me              15:58:27

24   about specifically who witnessed this?                           15:58:30

25            A.    I mean, like I said, I can't -- I                 15:58:35

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1    can't remember everybody's name.         This was a while        15:58:38

2    ago.   And they're not people who --                             15:58:39

3           Q.     Okay.     I understand you can't remember          15:58:43

4    everybody, but anyone who was there that you                     15:58:44

5    recall that you haven't listed?                                  15:58:46

6           A.     Not -- not that I recall, but there                15:58:49

7    were at least a dozen people there at the time.                  15:58:55

8           Q.     Okay.     And then if you look at the              15:59:02

9    third line/paragraph at the top of the second page               15:59:05

10   of Exhibit 206, you reported, "Kelly Cahill is                   15:59:11

11   also a witness to this.       She has since left Nike,           15:59:16

12   but she was my manager at the time of the                        15:59:18

13   incident."    Do you see that?                                   15:59:20

14          A.     Yes.                                               15:59:21

15          Q.     So did Kelly Cahill witness the                    15:59:22

16   incident or not?                                                 15:59:25

17          A.     I -- I don't recall that she was still             15:59:28

18   there that night.                                                15:59:31

19          Q.     Okay.     But you said in your complaint           15:59:36

20   to the Matter of Respect hotline that she was?                   15:59:38

21          A.     Well, it seems like I did.                         15:59:41

22          Q.     Okay.     And you'd agree it's important           15:59:48

23   to be accurate and truthful when submitting a                    15:59:50

24   complaint like this to Nike's internal hotline.                  15:59:53

25   Correct?                                                         15:59:57

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1    within Nike.     At this time, we would like to let               16:17:35

2    you know that steps have been taken to address                    16:17:38

3    your concerns."        Do you see that?                           16:17:41

4            A.     Yes.                                               16:17:42

5            Q.     Okay.     And so I guess I'll ask this.            16:17:43

6    Did you receive this email from Ms. Nunez dated                   16:17:56

7    August 3rd, 2018?                                                 16:17:59

8            A.     Yes.                                               16:18:01

9            Q.     Okay.     And does this reflect --                 16:18:01

10   refresh your recollection that Ms. Nunez contacted                16:18:04

11   you to let you know the investigation into your                   16:18:07

12   Matter of Respect complaint regarding                             16:18:10

13   had been concluded?                                               16:18:15

14           A.     Yes.                                               16:18:17

15           Q.     And               is no longer with Nike.          16:18:18

16   Correct?                                                          16:18:28

17           A.     Correct.                                           16:18:28

18           Q.     Do you know why he's no longer with                16:18:34

19   Nike?                                                             16:18:35

20           A.     I believe he was let go.                           16:18:35

21           Q.     Do you know when that occurred?                    16:18:43

22           A.     It was -- I think it was the summer of             16:18:45

23   2018 when all the heads rolled.           There were a lot        16:18:51

24   of senior leaders who left or were let go.                        16:18:53

25           Q.     Okay.     And do you feel that Ms. Nunez           16:19:04

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1                                 CERTIFICATE
2
3
4                            I, Jan R. Duiven, CSR, FCRR, CRC,
5    RPR, a Certified Shorthand Reporter for the State
6    of Oregon, do hereby certify that, pursuant to
7    stipulation of counsel for the respective parties
8    hereinbefore set forth, LAUREN ANDERSON appeared
9    virtually before me at the time and place set
10   forth in the caption hereof; that at said time and
11   place I reported in Stenotype all testimony
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14   reduced to typewriting under my direction; and
15   that the foregoing transcript, pages 1 to 229,
16   both inclusive, constitutes a full, true, and
17   accurate record of all such testimony adduced and
18   oral proceedings had, and of the whole thereof.
19                           Witness my hand at Eugene, Oregon,
20   this 17th day of February, 2021.
21
22     <%24847,Signature%>
23   Jan R. Duiven, CSR, FCRR, CRC, RPR
24   CSR No. 96-0327
25   Expiration Date:           September 30, 2023

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